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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                              Case No. 4:14-cr-00173 KGB

KWOME LATAYE GREEN                                                               DEFENDANT

                                            ORDER

       Pending before the Court is defendant Kwome Lataye Green’s motion to continue change

of plea hearing (Dkt. No. 38). The motion states that the government does not have an objection

to the request for a continuance. For good cause shown, the motion is granted.

       The plea hearing currently scheduled in this matter for Tuesday, May 26, 2015, is

removed from this Court’s calendar and rescheduled for Thursday, May 28, 2015 at 3:30 p.m.

       It is so ordered this 26th day of May, 2015.


                                                      ____________________________________
                                                      Kristine G. Baker
                                                      United States District Judge
